






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. AP-76,297, AP-76,298, AP-76,299, AP-76,300 &amp; AP-76,301




EX PARTE STEPHON LAMAR HARRIS, Applicant




ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
CAUSE NOS. 1061324; 1074998; 1075000; 1063498; &amp; 1051333 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;IN THE 371ST DISTRICT COURT FROM TARRANT COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted upon his open
plea of guilty to five offenses: attempted assault causing bodily injury to a public servant; two counts
of engaging in organized criminal activity; possession of cocaine less than one gram; and possession
of marijuana.  Applicant was sentenced to twenty-five years’ incarceration on the engaging in
organized criminal activity counts and two years’ incarceration in state jail for all other counts.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because counsel failed
to inform him of his right to appeal, failed to withdraw as counsel, and failed to timely file notices
of appeal. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that trial counsel failed to timely file a notice of appeal or take
the necessary steps to insure that Applicant’s appellate rights were preserved.  We find, therefore,
that Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment of
conviction in Cause Nos. 1061324; 1074998; 1075000; 1063498; and 1051333 from the 371st
Judicial District Court of Tarrant County.  Applicant is ordered returned to that time at which he may
give a written notice of appeal so that he may then, with the aid of counsel, obtain a meaningful
appeal.  All time limits shall be calculated as if the sentence had been imposed on the date on which
the mandate of this Court issues.  We hold that, should Applicant desire to prosecute an appeal, he
must take affirmative steps to file a written notice of appeal in the trial court within 30 days after the
mandate of this Court issues.
Filed: March 3, 2010
Do not publish


